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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


JOHN NAVELSKI; LINDA NAVELSKI,
RICHARD BULLARD; and BEVERLY
BULLARD, and those others that are
Similarly Situated,

        Plaintiffs,
v.                                         CASE NO. 3-14-cv-445 MCR/CJK

INTERNATIONAL PAPER COMPANY,

        Defendant.
                                           /

                      CORPORATE DISCLOSURE STATEMENT

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant,

International Paper Company, states that it has no parent company and that no publicly

held corporation owns 10% or more of its stock.

                                           Respectfully submitted,

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                           CERTIFICATE OF SERVICE


       I HEREBY CERTIFY this 23rd day of September, 2014, a true copy of the

foregoing was served via electronic delivery on counsel below:

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 Attorneys for Plaintiff


                                                   /S/ Charles F. Beall, Jr.
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